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AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations


                                      UNITED STATES DISTRICT COURT
                                             SOUTHERN OISTRICT OF CALIFORNIA
               UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                                                      (For Revocation of Probation or Supervised Release)
                                                                      (For Offenses Committed On or After November I, 1987)
                                 V.
            JOAQUIN RAMIREZ-MORALES (1)
                                                                         Case Number:        3:21-CR-10093-GPC

                                                                      Payton Thea Marie Randle, FD
                                                                      Defendant's Attorney
REGISTRATION NO.                  13215-196
•-
THE DEFENDANT:
 IZl   admitted guilt to violation of allegation(s) No.     One (1)

 D
                                                            ------------- after denial of guilty.
       was found guilty in violation of allegation(s) No.

Accordin~ly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                     Nature of Violation
            1                         Committed a federal, state or local offense




      Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
 The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
         IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
 material change in the defendant's economic circumstances.

                                                                      October 29, 2021
                                                                      Date of Imposition of Sentence


                                                                                e2ck-J~
                                                                      HON.GONZALOP.CUR~
                                                                      UNITED STATES DISTRICT JUDGE
            Case 3:21-cr-10093-GPC Document 12 Filed 11/02/21 PageID.29 Page 2 of 2
AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANT:                JOAQUIN RAMIREZ-MORALES (1)                                              Judgment - Page 2 of 2
CASE NUMBER:              3 :21-CR-10093-GPC

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 12 months (3 months consecutive to and 9 months concurrent to sentence imposed in 21-CR-1626-GPC).




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 •     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant shall surrender to the United States Marshal for this district:

        •     at                            A.M.              on

        •     as notified by the United States Marshal.

        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 •      Prisons:
        •     on or before
        •     as notified by the United States Marshal.
        •     as notified by the Probation or Pretrial Services Office.

                                                        RETURN

 I have executed this judgment as follows:

        Defendant delivered on                                            to

 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL




                                                                                                  3:21-CR-10093-GPC
